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                                                                                                                     Form 3-1



UNITED STATES COURT OF INTERNATIONAL TRADE                                                                   FORM 3
 Interglobal Forest, LLC



                                                                                        SUMMONS
                                          Plaintiff,
       v.
                                                                                         Case No. 1:22-cv-240
 UNITED STATES,
                                          Defendant.

TO:    The Attorney General, the Department of Commerce, and/or the Commissioner of U.S.
       Customs and Border Protection, and/or the United States International Trade
       Commission:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
       U.S.C. ' 1581(c) to contest the determination described below.

                                                              /s/ Mario Toscano
                                                              Clerk of the Court



1.     Interglobal Forest, LLC
       ________________________________________________________________________
       (Name and standing of plaintiff)


2.     U.S. Customs and Border Protection's final determination as to evasion and determination
       ________________________________________________________________________
       pursuant to administrative review under EAPA consolidated Case No. 7252.
       ________________________________________________________________________
       ________________________________________________________________________
       (Brief description of contested determination)


3.     Jan. 28, 2022, June 6, 2022, and supplemented July 6, 2022.
       ______________________________________________________________________
       (Date of determination)


4.     Not applicable as EAPA decisions are not published in Federal Register.
       _______________________________________________________________________
       (If applicable, date of publication in Federal Register of notice of contested determination)


                                                                            Name, Address, Telephone Number
                                                                            and E-mail Address of Plaintiff's Attorney
Ignacio J. Lazo
___________________________________                                          Ignacio J. Lazo, SBN 105945
Signature of Plaintiff's Attorney                                            Thomas H. Cadden, SBN 122299
                                                                             CADDEN & FULLER LLP
August 17, 2022
____________________________________                                         2050 Main Street, Suite 260
                                                                             Irvine, CA 92614
     Date
                                                        SEE REVERSE SIDE
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                                                                                       Form 3-2




                       SERVICE OF SUMMONS BY THE CLERK


                      If this action, described in 28 U.S.C. ' 1581(c), is
              commenced to contest a determination listed in section 516A(a)(2)
              or (3) of the Tariff Act of 1930, the action is commenced by filing
              a summons only, and the clerk of the court is required to make
              service of the summons. For that purpose, list below the complete
              name and mailing address of each defendant to be served.


(As amended July 21, 1986, eff. Oct. 1, 1986; Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28,
2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1, 2011; July 17, 2017, eff. July 17, 2017;
Oct. 25, 2017, eff. Oct. 25, 2017; Sept. 18, 2018, eff. Oct. 15, 2018.)
